












Affirmed and Memorandum Opinion filed February 24,
2011.

&nbsp;




In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00681-CR

____________

&nbsp;

JERMAINE LEWIS, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 252nd District Court

Jefferson County, Texas

Trial Court Cause No. 95157

&nbsp;



&nbsp;

MEMORANDUM
OPINION

Appellant entered a plea of no contest to the offense of aggravated
robbery.&nbsp; Pursuant to a plea bargain agreement, the trial court deferred
adjudication and placed appellant on community supervision for ten years.&nbsp; On June
2, 2010, the State moved to adjudicate appellant’s guilt.&nbsp; On June 30, 2010,
the trial court sentenced appellant to confinement for 15 years in the
Institutional Division of the Texas Department of Criminal Justice.&nbsp; Appellant
filed a notice of appeal.

Appellant’s appointed counsel filed a brief in which he
concludes the appeal is wholly frivolous and without merit. &nbsp;The brief meets
the requirement of Anders v. California, 386 U.S. 738, 87 S.Ct. 1396
(1967), by presenting a professional evaluation of the record and demonstrating
why there are no arguable grounds to be advanced. &nbsp;See High v. State,
573 S.W.2d 807 (Tex. Crim. App. 1978).

A copy of counsel’s brief was delivered to appellant. &nbsp;Appellant
was advised of the right to examine the appellate record and file a pro se
response. &nbsp;See Stafford v. State, 813 S.W.2d 503, 510 (Tex. (Tex. Crim.
App.1991). &nbsp;As of this date, no pro se response has been filed.

We have carefully reviewed the record and counsel’s brief and
agree the appeal is wholly frivolous and without merit. Further, we find no
reversible error in the record. &nbsp;We are not to address the merits of each claim
raised in an Anders brief or a pro se response when we have determined
there are no arguable grounds for review. &nbsp;See Bledsoe v. State, 178
S.W.3d 824, 827–28 (Tex. Crim. App. 2005).

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Brown, Boyce, and Jamison.

Do Not Publish — Tex. R. App. P. 47.2(b).





